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IN THE DISTRICT COURT FOR TULSA COUNTY

STATE OF OKLAHOMA
ANGELA FoRREsTER, an individual ) E. Mark Barcus
Plaintiff,
gf. Q2014.01965
vs. )
) ATTORNEY LIEN CLAIMED
APEX REMINGTON, INC., a Foreign F or ) DISTRICT COURT
Profit Business Corporation, d/b/a ) F l L E D
APEX REMINGTON PIPE & SUPPLY )
CO., § MAY 2 0 2014
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ITATE Ql' arm TuLsA QQUNT¥
PETITION

COMES NOW the Plaintiff, Angela Forrester, by and through her attorney of
record, Daniel E. Smolen and Lauren G. Lambright, of Smolen, Smolen & Roytman,
PLLC, and brings this action against Defendant, Apex Remington, Inc., d/b/a Apex
Remington Pipe & Supply Co., for violation of her constitutionally protected rights
arising out of her employment and termination by said Defendant.

PARTIES. JURISDICTION AND VENUE
1. Plaintiff is a resident of Tulsa County, State of Oklahoma.
2. Defendant Apex Remington, Inc., d/b/a Apex Remington Pipe & Supply Co., is a
foreign for profit business corporation regularly conducting business in Tulsa County,
State of Oklahoma and employs more than fifteen (15) people.
3. The incidents and occurrences Which form the basis of Plaintiffs action occurred
in Tulsa County, State of Oklahoma.
4. Plaintiff filed a Charge of Discrimination With the Equal Employment

Opportunity Commission (“EEOC”) complaining of discrimination based on Sex. A

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Notice of Right to Sue was received by Plaintiff and this Petition has been filed within

ninety (90) days of the receipt of the Notice. As such, all conditions precedent to the

filing of this lawsuit have been fulfilled.

5. This Court has jurisdiction and venue is proper in Tulsa County, State of

Okkdunna

6. Plaintiff brings this action for damages under Title VII of the Civil Rights Act of

1964, as amended 42 U.S.C. §2000e et seq. (“Title VII”), providing for relief against

discrimination in employment on the basis of gender.

7. Compensatory damages are sought pursuant to 42 U.S.C. § 2000e, et seq. and 29

U.S.C. §216(b). v

8. Costs and attomey’s fees may be awarded pursuant to 42 U.S.C. § 2000e, et seq.
FACTS COMMON TO ALL CLAIMS

9. Plaintiff incorporates as if realleged the preceding paragraphs

10. Plaintiff Was hired by Defendant on January l4, 2009 as a Corporate Secretary.

ll. Plaintiff subsequently moved to the position of Human Resources Director and

remained in that position until her termination

12. Plaintiff was an outstanding employee and never received formal discipline from

the Defendant

13. Defendant then terminated Plaintiff’s employment on December 12, 2012

informing her that she was being fired because she Was married to the company’s

president, Colby Forrester, which allegedly violated the Defendant’s anti-nepotism

policy.

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14. The Defendant’s stated reason for termination is pretext as the Plaintiff is aware
of numerous employees with familial ties to another employee Who remain employed by
the Defendant Plaintiff is, in fact, aware of a married couple, Donna and Danny
Andersen, who continue to be employed with Defendant despite their marriage. Clearly
then, Defendant regularly allows individuals to violate this alleged policy and it has
unfairly enforced the policy against Plaintiff because of her gender.

15. Additionally, the Plaintiff was terminated based upon her gender since her
husband, Colby Forrester, a male, Was not subjected to the anti-nepotism policy and was
not terminated from his employment

16. Plaintiff believes that the disparate treatment and discipline she suffered was

discriminatory based on her sex.

FIRST CLAIM FOR RELIEF
DISCRIMINATION BASED ON GENDER (TITLE VII)

17. Plaintiff incorporates the preceding paragraphs as if realleged.
18. Plaintiff s employment was terminated because of her gender.
19. By treating the Plaintiff differently than similarly situated male employees, the
Defendant has violated Title VII of the Civil Rights Act of 1964.
WHEREFORE, plaintiff prays for judgment against the defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for her mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the Defendant’s management;

d. Her attorney fees and the costs and expenses of this action;

e. Such other relief as the Court deems just and equitable.

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SECOND CLAIM FOR RELIEF
DISCRIMINATION BASED ON GENDER IN VIOLATION OF THE OADA 25

O.S. § 1301 et seq

20. Plaintiff incorporates the preceding paragraphs as if realleged.
2l. By terminating Plaintist employment for engaging in the same conduct in which
her male counterparts engaged without punishment, the Defendant has violated the
Oklahoma Anti-Discrimination Act (OADA) 25 O.S. § 1301, et seq.
WHEREFORE, Plaintiff prays for judgment against the Defendant for: `
a. Back pay and lost benefits; front pay until normal retirement
b. Compensatory damages for her mental anguish, pain and suffering and
other non-pecuniary losses;
c. Punitive damages for the intentional and knowing acts of discrimination
committed by Defendant’s management and executives;
d. Her attorney fees and the costs and expenses of this action;

e . Such other relief as the Court deems just and equitable.

THIRD CLAIM FOR RELIEF
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

22. Plaintiff incorporates the preceding paragraphs as if realleged.

23. The Defendant’s actions of intentional and malicious discrimination are extreme
and outrageous and have caused severe emotional and psychological damage to the
Plaintiff.

24. The Defendant intentionally or recklessly caused severe emotional distress to the

Plaintiff beyond which a reasonable person could be expected to endure.

WHEREFORE, Plaintiff prays for judgment against Defendant for:

a. Back pay and lost benefits; front pay until normal retirement

b. Compensatory damages for her mental anguish, pain and suffering and
other non-pecuniary losses;

c. Punitive damages for the intentional and knowing acts of discrimination
committed by the Defendant’s management;

d. Her attorney fees and the costs and expenses of this action;

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e. Such other relief as the Court deems just and equitable.

WHEREFORE, based on the foregoing, Plaintiff prays that this Court grant her
the relief sought including, but not limited to, actual damages in excess of Seventy-Five
Thousand Dollars ($75,000), with interest accruing from date of filing of suit, punitive
damages in excess of Seventy-Five Thousand Dollars ($75,000), back pay and lost

0 benefits, compensatory damages for mental anguish, pain and suffering and other non-
pecuniary loss, reasonable attorneys fees, injunctive relief, and all other relief deemed

appropriate by this Court.

Respectfully submitted,

SMoLEN, SMoLEN & RoYTMAN PLLC

 
      

 

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